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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

FMIO, INC. and
RICHARD A. GARST,

               Plaintiffs,                                   Civil Action No. 09-12561
vs.
                                                             HON. BERNARD A. FRIEDMAN
TOWNSHIP OF SUMMERFIELD
MICHIGAN, et al.

            Defendants.
________________________________/

                 ORDER DENYING MOTION FOR RECONSIDERATION

       Plaintiff has moved for reconsideration of the Court’s December 17, 2010 Order granting

Defendants’ Motion for Summary Judgment.

       Local Rule 7.1(g) of this Court states that “[g]enerally, and without restricting the court's

discretion, the court will not grant motions for rehearing or reconsideration that merely present

the same issues ruled upon by the court, either expressly or by reasonable implication.” Further,

it states that a movant in a motion for reconsideration must demonstrate a palpable defect by

which the court and the parties have been misled. Such defect has not been shown. Contrary to

Plaintiff’s contentions, the Court was not misled by Defendants’ legal arguments, as the Court

conducted its own review of the law before rendering its Opinion. Plaintiff has not demonstrated

a “palpable defect” by which the Court has been misled.

       In addition, Plaintiff’s arguments pursuant to Fed. R. Civ. P. 59(e), seeking to alter or

amend the judgment, are unavailing. Plaintiff’s contention that it seeks to correct a clear error of

law or prevent manifest injustice are not compelling, as the Court has already reviewed the facts


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and law of this case, and does not find that such clear error or manifest injustice exists.

       Accordingly,

       IT IS ORDERED that Plaintiff’s Motion for Reconsideration is DENIED.




                                               S/Bernard A. Friedman______________
Dated: February 24, 2011                       BERNARD A. FRIEDMAN
       Detroit, Michigan                       UNITED STATES DISTRICT JUDGE




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